                                                            Case 2:16-cv-01206-JCM-EJY Document 302 Filed 10/21/20 Page 1 of 3



                                                        1   DAVID BARRON, ESQ.
                                                            Nevada Bar No. 142
                                                        2   JOSEPH R. MESERVY, ESQ.
                                                            Nevada Bar No. 14088
                                                        3   BARRON & PRUITT, LLP
                                                            3890 West Ann Road
                                                        4   North Las Vegas, Nevada 89031-4416
                                                            Telephone: (702) 870-3940
                                                        5   Facsimile: (702) 870-3950
                                                            Email: DBarron@lvnvlaw.com
                                                            Email: JMeservy@lvnvlaw.com
                                                        6   Attorneys for Defendant,
                                                            Smart Industries Corporation
                                                        7

                                                        8
                                                                                       UNITED STATES DISTRICT COURT
                                                        9
                                                                                             DISTRICT OF NEVADA
                                                       10
                                                                                             *****
                                                       11   WESCO INSURANCE COMPANY as subrogee Case No.: 2:16-cv-01206-JCM-EJY
                                                            of its insured NICKELS AND DIMES
                                                       12   INCORPORATED,
BARRON & PRUITT, LLP

                       NORTH LAS VEGAS, NEVADA 89031




                                                       13                      Plaintiff,
                          TELEPHONE (702) 870-3940
                           FACSIMILE (702) 870-3950
                            3890 WEST ANN ROAD
                            ATTORNEYS AT LAW




                                                       14   vs.

                                                       15   SMART INDUSTRIES CORPORATION dba               CONSOLIDATED FOR PURPOSES OF
                                                            SMART INDUSTRIES CORP., MFG., an Iowa          DISCOVERY AND TRIAL
                                                       16   corporation,

                                                       17                Defendants.

                                                       18
                                                            JENNIFER WYMAN, individually; BEAR             Case No.: 2:16-cv-02378-JCM-EJY
                                                       19   WYMAN, a minor, by and through his natural
                                                            parent JENNIFER WYMAN; JENNIFER
                                                       20   WYMAN and VIVIAN SOOF, as Joint Special        STIPULATION AND ORDER FOR
                                                            Administrators of the ESTATE OF CHARLES        EXTENSION OF TIME FOR
                                                       21   WYMAN; and SARA RODRIGUEZ natural              DEFENDANT SMART TO RESPOND TO
                                                            parent and guardian ad litem of JACOB WYMAN,   PLAINTIFFS JENNIFER WYMAN, BEAR
                                                       22                                                  WYMAN, AND THE ESTATE OF
                                                                               Plaintiffs,                 CHARLES WYMAN’S MOTION IN
                                                       23                                                  LIMINE NO. 7
                                                            vs.
                                                       24
                                                            SMART INDUSTRIES CORPORATION dba
                                                       25   SMART INDUSTRIES CORP., MFG, an Iowa
                                                            Corporation; HI-TECH SECURITY INC, a
                                                       26   Nevada Corporation; WILLIAM ROSEBERRY;
                                                            BOULEVARD VENTURES, LLC, a Nevada
                                                       27   Corporation; DOES 1 through 10; BUSINESS
                                                            ENTITIES I through V; and ROE
                                                       28   CORPORATIONS 11 through 20, inclusive,
                                                                                                       1
            627.67
                                                            Case 2:16-cv-01206-JCM-EJY Document 302 Filed 10/21/20 Page 2 of 3



                                                        1                   Defendants.
                                                            HI-TECH SECURTY INC; and WILLIAM
                                                        2   ROSEBERRY,

                                                        3                           Third-Party Plaintiffs,

                                                        4   vs.

                                                        5   NICKELS AND DIMES INCORPORATED,

                                                        6                           Third-Party Defendants.

                                                        7

                                                        8
                                                                    On October 6, 2020, Plaintiffs’ filed their Motion in Limine No. 7 to Exclude Charles
                                                        9
                                                            Wyman’s Toxicology Report and any Argument or Reference to his Alleged Drug Use (ECF No. 294).
                                                       10
                                                            The response to said motion is currently due Oct. 20, 2020. Defendant Smart Industries has requested
                                                       11
                                                            a two-day extension of time to file its response to Plaintiff’s Motion in Limine No. 7. Plaintiffs have
                                                       12
                                                            agreed to Defendant Smart Industries request, which would make the response due on Oct. 22, 2020.
BARRON & PRUITT, LLP

                       NORTH LAS VEGAS, NEVADA 89031




                                                       13
                          TELEPHONE (702) 870-3940




                                                                    With this Court’s approval, the parties hereby agree that the deadline for Defendant Smart
                           FACSIMILE (702) 870-3950
                            3890 WEST ANN ROAD
                            ATTORNEYS AT LAW




                                                       14
                                                            Industries to file its response to the Wyman Plaintiffs’ Motion in Limine No. 7, shall be extended by
                                                       15
                                                            two days, or such other time as deemed appropriate by the Court. As such, the deadline for filing said
                                                       16   response shall be Oct. 22, 2020 and coincide with the deadline for responses to the Wyman Plaintiffs’
                                                       17   Motions in Limines Nos. 5 and 6.
                                                       18           This Stipulation is submitted in good faith and is not interposed for purposes of delay. This
                                                       19   stipulation will allow defense counsel additional time to balance certain work and family demands on
                                                       20   his time caused by a recent move. Accordingly, should Plaintiffs need additional time to Reply to
                                                       21   Defendant Smart Industries’ responsive pleading, Defendant will not object to a short extension of
                                                       22   time for Plaintiffs’ to file their reply. This is the first request to extend the deadline for filing
                                                       23   ///

                                                       24   ///

                                                       25   ///

                                                       26   ///

                                                       27   ///

                                                       28   ///
                                                                                                                  2
            627.67
                                                            Case 2:16-cv-01206-JCM-EJY Document 302 Filed 10/21/20 Page 3 of 3



                                                        1   Defendant Smart Industries’ Responses to Plaintiffs’ Motion in Limine No. 7 to Exclude Charles

                                                        2   Wyman’s Toxicology Report and any Argument or Reference to his Alleged Drug Use (ECF No. 294).

                                                        3
                                                             Dated this _20th day of October, 2020,               Dated this _20th day of October, 2020,
                                                        4    BARRON & PRUITT, LLP                                 EGLET ADAMS

                                                        5
                                                               /s/ Joseph R. Meservy                   .            /s/ James A. Trummell                  _
                                                        6    DAVID BARRON, ESQ.                                   TRACY A. EGLET, ESQ.
                                                             Nevada Bar No. 142                                   Nevada Bar No. 6419
                                                        7    JOSEPH R. MESERVY, ESQ.                              JAMES A. TRUMMELL, ESQ.
                                                             Nevada Bar No. 14088                                 Nevada Bar No. 14127
                                                        8    3890 West Ann Road                                   BRITTNEY GLOVER, ESQ.
                                                             North Las Vegas, Nevada 89031                        Nevada Bar No. 15412
                                                        9    Attorneys for Defendant                              400 South 7th Street, 4th Floor
                                                             Smart Industries Corporation                         Las Vegas, Nevada 89101
                                                       10                                                         Attorneys for the Wyman Plaintiffs
                                                             Dated this _20th day of October, 2020,
                                                       11    CLIFF W. MARCEK, P.C.

                                                       12
                                                               _ /s/ Cliff W. Marcek         ____
BARRON & PRUITT, LLP

                       NORTH LAS VEGAS, NEVADA 89031




                                                       13     CLIFF W. MARCEK, ESQ.
                          TELEPHONE (702) 870-3940




                                                              Nevada Bar No. 5061
                           FACSIMILE (702) 870-3950
                            3890 WEST ANN ROAD
                            ATTORNEYS AT LAW




                                                       14     536 East St. Louis Ave.
                                                              Las Vegas, Nevada 89104
                                                       15    Attorneys for Plaintiffs Sara Rodriguez
                                                             and Jacob Wyman
                                                       16

                                                       17
                                                                                                           ORDER
                                                       18          Based upon the Stipulation of the parties hereto, and with good cause appearing therefor,
                                                       19          IT IS HEREBY ORDERED, that the stipulation to extend the deadline for filing Defendant
                                                       20   Smart Industries’ Responses to Plaintiffs’ Motion in Limine No. 7 to Exclude Charles Wyman’s
                                                       21   Toxicology Report and any Argument or Reference to his Alleged Drug Use (ECF No. 294) is hereby
                                                       22   Granted.
                                                       23                October
                                                                   DATED this      21, of
                                                                              ____ day 2020.
                                                                                          October, 2020.
                                                       24

                                                       25                                                  _______________________________________
                                                                                                           UNITED STATES DISTRICT JUDGE
                                                       26

                                                       27

                                                       28
                                                                                                              3
            627.67
